     Case 3:20-cv-00657-JAH-AGS Document 35 Filed 09/18/20 PageID.115 Page 1 of 1



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7                            UNITED STATES DISTRICT COURT
8                          SOUTHERN DISTRICT OF CALIFORNIA
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10    MARK NEIL,                                        Case No.: 3:20-cv-00657-JAH-AGS
11                                     Plaintiff,
                                                        ORDER GRANTING JOINT
12    v.                                                MOTION TO DISMISS ENTIRE
                                                        CASE (Doc. No. 34)
13    LOANPAL, LLC; and DOES 1 through
      10, inclusive,
14
                                     Defendant.
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16   Pending before the Court is the Parties’ joint motion to dismiss the entire case. See Doc.
17   No. 34. Upon consideration of the motion, IT IS HEREBY ORDERED the motion is
18   GRANTED. The entire case is hereby dismissed with prejudice. Each party shall bear its
19   own costs and expenses.
20         IT IS SO ORDERED.
21   DATED: September 18, 2020
22                                                  _________________________________
                                                    JOHN A. HOUSTON
23
                                                    United States District Judge
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                                                                            3:20-cv-00657-JAH-AGS
